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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MISSOURI
                              EASTERN DIVISION

UNITED STATES OF AMERICA,             )
                                      )
      Plaintiff,                      )
                                      )
v.                                    )     No. 4: 13CR143 CDP-4
                                      )
ORLANDO PRESTON, a/k/a                )
NIZZA P. EL,                          )
                                      )
      Defendant.                      )

                                     ORDER

      This matter is before the Court on the pro se filing of defendant Orlando

Preston, who prefers to be called Nizza P. EL. The court has construed the

documents as a motion challenging jurisdiction. Pursuant to 28 U.S.C. § 636(b),

all pretrial motions were referred to United States Magistrate Judge Nannette A.

Baker.

      Defendant is representing himself. Judge Baker held a hearing on the

motions on September 30, 2013. Defendant appeared at the hearing and argued

the motion. Judge Baker recommended that the motion be denied. No party has

filed any objections to the Magistrate Judge’s recommendations, and the time for

doing so has expired.
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      As no party has objected to the Report and Recommendation, I will adopt

and sustain the reasoning of Magistrate Judge Baker as set forth in support of her

recommended rulings. Judge Baker correctly determined that jurisdiction over this

matter is proper. Judge Baker correctly rejected defendant’s arguments that he is

not subject to the jurisdiction of the court.

      I have now listened to the recordings of the hearings Judge Baker held

regarding this defendant. I am concerned that his participation in a joint trial may

cause difficulties for any other defendants on trial, and so I am considering

severing his case for trial. I will therefore hold a hearing with the Assistant United

States Attorney, this defendant, and his standby counsel to determine whether his

trial should be separate from that of any other defendants who go to trial.

      Accordingly,

      IT IS HEREBY ORDERED that the Report and Recommendation of the

United States Magistrate Judge [#403] is SUSTAINED, ADOPTED, and

INCORPORATED herein.

      IT IS FURTHER ORDERED that defendant's motion challenging the

court’s jurisdiction [#319] is denied.

      IT IS FURTHER ORDERED that the undersigned will hold a hearing on

Thursday, November 14, 2013 at 3:00 p.m. in Courtroom 14 South to discuss

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whether the trial of this defendant’s case should be severed and held separately

from that of the other defendants. Only this defendant , his standby counsel, and

the Assistant U.S. Attorney are required to attend.




                                          CATHERINE D. PERRY
                                          UNITED STATES DISTRICT JUDGE


Dated this 7th day of November, 2013.




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